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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

UNITED STATES DISTRICT CoO

for the

 

 

 

URW ED

UNITED. STATES DISTRICT COURT
District of Colorado DENVER, COLORADO
Jeffrey T. Maehr ) NOV 23 2018
Plaintiff/Petitioner ) JEFFREY P. COLWELL
v. ) Civil Action No. CLERK
U.S. )
Defendant/Respondent )

Page 1 of 5

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS

(Long Form)

 

Affidavit in Support of the Application

I am a plaintiff or petitioner in this case and declare

that I am unable to pay the costs of these proceedings
and that I am entitled to the relief requested. I declare
under penalty of perjury that the information below is
true and understand that a false statement may result in

a dismissal of my claims.

Instructions

Complete all questions in this application and then sign it.

Do not leave any blanks: if the answer to a question is “0,”
“none,” or “not applicable (N/A),” write that response. If
you need more space to answer a question or to explain your
answer, attach a separate sheet of paper identified with your
name, your case's docket number, and the question number.

 

 

Signed: Date: “7 7 — FO is
1. For both you and your spouse estimate the average amount of money received from each of the following

sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise.

 

 

 

 

 

 

 

 

 

 

 

Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Speusé_ You Spousé”
Employment i
‘VA | WASB VASBM,
Self-employment $ 200.00 |$ l $ 200.00 |$ |
Income from real property (such as rental income)
_ ‘$ WMA _' ‘ALAS
Interest and dividends $ A. A. § ! § AS A § {
Gifts
‘VA | ‘M/A!
Alimony
— 8A Vi $ § LA 8
ild support
$ 47 A- |s $s ALAR fs

 

 

 

 

 

 

 

 
 

 

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Retirement (such as social security, pensions, annuities, .
insurance) $ MWA $ $ Lt 7 $ |

Disability (such as social security, insurance payments) $
i Psy 1,365.48 |$ $ 1,365.48 |$
Yer. AXaer

Unemployment payments § WN A $ § A A § |
Public-assistance (such as welfare) :
: SUA § ) Bae &

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Other (specify): $ 500.00 |$ | $ 500.00 |$
Total monthly income: $ 2,065.48 |$ 0.00)$ 2,065.48 |§ 0.00
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pa
Self 924 E. Stollsteimer Rd, Pagosa Spgs, | 1994-present $ 200.00
$
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
NA/Not married $
$
$
4. How much cash do you and your spouse have? $ 200.00

Below, state any money you or your spouse have in bank accounts or in any other financial institution.

 

 

 

 

 

 

 

 

Financial institution Type of account Amount you have Amount your
spouse has
Citizen's Bank of Pagosa checking $ Z 6 oe Ss = $ .
PayPal business $ fi iY oY ES 7 AS |
$ $

 

 

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
" expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.
Assets owned by you or your spouse
Home (Value) $ NL 4-
Other real estate (Value)
, A.
AZ l
Motor vehicle #/ (Value) $ 2,500.00
Make and year: Dodge Ram,1998
Model: Laredo ‘
Registration #: 100201BX6 Colorado
Motor vehicle #2 (Value) $
Make and year:
Model:
Registration #:
Other assets (Value) $ A/A-
Other assets (Value) $ JU A.-
6. State every person, business, or organization owing you or your spouse moncy, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money
NA $ $
$ $
$ $
7. State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only) Relationship Age
NA

 

 

 

 

 

 

 
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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the“
monthly rate.

 

- . . You Your spouse

 

Rent or home-mortgage payment (including ipt rented for mobile home)
Are real estate taxes included? ‘Yes No , $ 1,007.57 |$
Is property insurance included? M Yes [No ,

 

 

 

 

 

 

 

 

 

 

Utilities (electricity, heating fuel, water, sewer, and telephone) $ 220.00 /$
Home maintenance (repairs and upkeep) $ 25.00 |$
Food $ 100.00 |$
Clothing $ ae, : $
Laundry and dry-cleaning $ AZ (4 $
_|Medical and dental expenses $ WA (Ae $
Transportation (not including motor vehicle payments) $ 50.00 |$
Recreation, entertainment, newspapers, magazines, etc. ' $ 50.00 |$

 

jInsurance (not deducted from wages or included in mortgage payments)

 

 

Homeowner's or renter’s: $ Vb Yd $

 

 

 

 

 

 

 

 

 

 

 

 

 

Life: $ LV D9 2. $

Health: soy A te $

Motor vehicle: $ 60.00 /$

Other: $ Ae 4 ; $ |
Taxes (not deducted from wages or included in mortgage payments) (specify): $

“A ' |

Installment payments . | .

Motor vehicle: $ Je fo $

Credit card (name): 14 wre. $

Department store (name): $ MDL. $

Other: . fs LIF S $ :

 

 

 

 

 

 

Alimony, maintenance, and support paid to others $ Ba $

 
 

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Regular expenses for operation of business, profession, or fatm (attach detailed
$ 389.82 |S
statement)
Other (specify): $ $
1,902.39 ‘0.00
Total monthly expenses: $ $
9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the.
next 12 months?
Yes &No If yes, describe on an attached sheet.
10. Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this -
lawsuit? O Yes No
If yes, how much? $
11. Provide any other information that will help explain why you cannot pay the costs of these proceedings.

| received one month's Social Security payment in January 2016. Beginning February 2016, the IRS began
gamishing every penny of that amount ($697/month, now more), and is attempting to secure every penny of
my Veterans Disability Compensation as well as my few business assets, destroying. me financially, and all

based on this suit issues and fraudulent assessment by the IRS. In Forma Pauperis granted in last 4 courts.

12. Identify the city and state of your legal residence.
Pagosa Springs, Colorado

Your daytime phone number: ___(970) 731-9724

Yourage: 65 Your years of schooling: 18
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Regular expenses for operation of business, profession or farm

The following expenses are paid directly from the small sales I’ve had and are debited out of the
PayPal account. The $200.00 average monthly profit from the small business website is what is
left from all gross sales and expenses. There have been times when I’ve had to deposit funds
from my veterans disability account to support the small business costs due to limited sales. I’m
trying to survive here... for many years...

CenturyLink internet/phone service: $72.09/month ($865.08/year)
Verizon Cell phone service - $73/08/month ($876.96/year)
Volusion Shopping Cart - $103.69/month ($1244.28/year)

Spam Arrest - $49.95/yr (average of $4.16/month)

Carbonite Backup Services - $59/year (average of $4.92/month)
Godaddy website Server costs: $131.88/year ($1582.56).

Monthly expenses: average 389.82
Total/year = $4677.83

JeffMachr © a SO — Oo OO

NB: In Forma Pauperis application has been granted in the last 4 courts, including U.S. Court of
Federal Claims and U.S. Supreme Court.

Regular expenses for operation of business, profession or farm Page 1 of 1
    

 

   
     

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